                UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

In re Ark Laboratory, LLC,                         Case No. 23-43403-MLO
                                                   Chapter 11
     Debtor.                                       Hon. Maria L. Oxholm
_____________________________/

             OBJECTON OF PAUL R. HAGE, SOLELY IN HIS
           CAPACITY AS THE LIQUIDATING TRUSTEE OF THE
            ARK LABORATORY TRUST, TO ENTRY OF FINAL
                DECREE AND CLOSING OF THE CASE

      Paul R. Hage, solely in his capacity as the Liquidating Trustee of the Ark

Laboratory Trust (the “Liquidating Trustee”), by his counsel Taft Stettinius &

Hollister, LLP, states for his Objection to Entry of Final Decree and Closing of the

Case, as follows:

      1.    Ark Laboratory, LLC (the “Debtor”) confirmed its Second Amended

Plan of Liquidation [ECF No. 384] (“Plan”)1 on December 1, 2023, as reflected in

the Findings of Fact, Conclusions of Law and Order (I) Granting Final Approval of

the Debtor’s Disclosure Statement and Plan Supplement, and (II) Confirming

Debtor’s Second Amended Plan of Liquidation [ECF No. 392] (the “Confirmation

Order”).




1
  Capitalized terms not otherwise defined herein shall have the meaning given to
them in the Plan.
                                              1
  23-43403-mlo
130652578v2      Doc 476     Filed 01/16/24       Entered 01/16/24 15:58:24   Page 1 of 6
      2.     In conjunction with entering the Confirmation Order, the Court issued

a Notice of Confirmation and Opportunity to Object to Entry of Final Decree and

Closing of the Case [ECF No. 392] (“Notice of Closing”) that provided that the Court

would enter a final decree and close the case within 60 days of the entry of the

Confirmation Order unless within that time an objection was filed.

      3.     The Liquidating Trustee objects to the closing of the case for the

reasons set forth below.

      4.     The Plan provided for, among other things, the establishment of the Ark

Laboratory Trust (the “Trust”). Pursuant to the Plan and the Confirmation Order,

the Liquidating Trustee was appointed to serve as the trustee of the Trust on the

Effective Date of the Plan.

      5.     The Effective Date of the Plan occurred on December 14, 2023, as

reflected in the Notice of Occurrence of Effective Date of Confirmed Second

Amended Plan of Liquidation [ECF No. 413].

      5.     As a result of the occurrence of the Effective Date, all of the Debtor’s

assets have been transferred to the Trust and are being administered by the

Liquidating Trustee.

      6.     The Liquidating Trustee has sole power to exercise the powers and

duties set forth in the Liquidating Trust Agreement including, among other things,

to: (i) administer the assets transferred to the Trust, (ii) object to claims, (iii)


                                               2
  23-43403-mlo
130652578v2      Doc 476      Filed 01/16/24       Entered 01/16/24 15:58:24   Page 2 of 6
investigate and pursue causes of action preserved under the Plan, and (iv) make

distributions to the holders of Allowed Claims under the Plan.

      7.     Article X, Retention of Jurisdiction in the Plan, provides, that:

      Notwithstanding the entry of the Confirmation Order and the
      occurrence of the Effective Date, the Bankruptcy Court shall, after the
      Effective Date, retain such jurisdiction over the Chapter 11 Case and
      all Entities with respect to all matters related to the Chapter 11 Case, to
      the fullest extent legally permissible, . . .

Plan, Article X [ECF No. 384].

      8.     There are various matters currently pending before the Court that fall

within the Court’s retained jurisdiction under Article X of the Plan:

      A.     Motions seeking allowance of administrative expense claims were filed

      by various creditors, to which the Liquidating Trustee has objected and on

      which hearings have been scheduled.

      B.     On December 22, 2023, the Liquidating Trustee filed a 22-count

      complaint against various individuals that are or were managers and members

      of the Debtor, plus their entities and trusts and others, seeking $72 million in

      damages, thereby commencing Adversary Proceeding No. 23-04496-MLO

      (the “Adversary Proceeding”) that is currently pending before the Court.

      C.     Under the Confirmation Order, the Retained Professionals have 75 days

      from the entry of the Confirmation Order to file their final fee applications

      seeking allowance of compensation for fees and costs incurred by them on


                                             3
  23-43403-mlo
130652578v2      Doc 476    Filed 01/16/24       Entered 01/16/24 15:58:24   Page 3 of 6
      behalf of the estate before the Effective Date. The date for filing such final

      fee applications does not run until February 14, 2024.

      D.    The Liquidating Trustee is currently pursuing collection of the Covid

      Testing Claims. Various subpoenas issued pursuant to Rule 2004 of the

      Federal Rules of Bankruptcy Procedure (“Rule 2004”) were served after the

      Effective Date seeking documents from payors subject to the Covid Testing

      Claims. It is anticipated that additional subpoenas pursuant to Rule 2004 will

      be issued by the Liquidating Trustee seeking documents and scheduling

      examinations of payors in connection with seeking recovery of the Covid

      Testing Claims.

      E.    Under the Plan Supplement filed with the Court, various causes of

      action, including Avoidance Actions, were preserved. At the current time, the

      Liquidating Trustee is investigating the transfers disclosed in the Plan

      Supplement to ascertain what causes of action need to be pursued for the

      benefit of the creditors of the estate.

      F.     The Liquidating Trustee has not yet reviewed claims, other than

      administrative expense claims, filed by creditors in the chapter 11 case. When

      and if assets are available to make distributions to unsecured creditors of the

      estate, the Liquidating Trustee will need to review such claims to determine

      if they are valid or otherwise subject to disallowance.


                                             4
  23-43403-mlo
130652578v2      Doc 476    Filed 01/16/24       Entered 01/16/24 15:58:24   Page 4 of 6
       9.     As a result of all of the matters currently pending before the Court, as

well as such other matters likely to come before the Court, it is important that the

Court not enter a final decree closing the case, and instead, defer such determination

for at least one year in order to allow the Liquidating Trustee to administer the Trust

and the assets of the estate, consistent with his duties under the Trust and the Plan.

       WHEREFORE, the Liquidating Trustee respectfully requests that (i) the Court

not enter a final decree closing the case, (ii) defer any determination on entering a

decree and closing the case for at least one year, and (iii) granting all other just and

equitable relief justified in this matter.

January 16, 2024                   Respectfully submitted;

                                   TAFT STETTINIUS & HOLLISTER, LLP

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                                   Capacity as the Liquidating Trustee of the
                                   Ark Laboratory Trust




                                               5
  23-43403-mlo
130652578v2       Doc 476     Filed 01/16/24       Entered 01/16/24 15:58:24   Page 5 of 6
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In re:
                                                    Case No. 23-43403
ARK LABORATORY, LLC                                 Chapter 11

     Debtor.                                        Hon. Maria L. Oxholm
________________________________/

                             CERTIFICATE OF SERVICE

         I hereby certify that on January 16, 2024, my office caused to be served a copy

of the Objection of Paul R. Hage, Solely in his Capacity as the Liquidating Trustee

of the Ark Laboratory Trust, to Entry of Final Decree and Closing of the Case and

this Certificate of Service using the Court’s electronic filing system which will send

notice to all ECF participants registered to receive notice.

Dated: January 16, 2024            Respectfully submitted,

                                   TAFT STETTINIUS & HOLLISTER, LLP

                                   By: /s/ Judith Greenstone Miller
                                   Judith Greenstone Miller (P29208)
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                                               6
  23-43403-mlo
130652578v2        Doc 476    Filed 01/16/24       Entered 01/16/24 15:58:24   Page 6 of 6
